EXHIBIT 3

Student Declarations

Case 5:18-cV-00388-TES Document 28-3 Filed 11/14/18 Page 2 of 37

DECLARATION OF

  

I. , hereby declare and affirm the following:

l. l am over twenty-one (`2|) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge ot` the matters
set forth hercin.

2. l am a current student at B_{i§§lii§ll!`m in Dflt£l;lu[] ,
l )l[l . [Sehool, eity, stale) Ul m

3. lam enrolled in the lp\il\'\`\ [Y`{)

program

4. Upon graduation, l will receive a 1333 g\§@
C>\' t`\tu“'~>\ 513 _.
5. | expect to complete my program in g § § l§f §| g

 

To pay for my education, I have utilized Federal student aid programs,

includi:ngml_]t§l 553 H]§`Lfl§‘\ l tag llB _>Y§ ll{l§ll]!l lang ____H.

I hav a'e n (Cilcle one that applies) received student aid m excess

of tuition and fees to offset my living expenses, including:

 

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FlEl"-F\!"`Tl'l"l

Case 5:18-cV-00388-TES Document 28-3 Filed 11/14/18 Page 3 of 37

S. if given the ehoice, l would choose to complete my degree at

Q)j lil§§l,i'_t.tl§(l College. as opposed to stopping my education and receiving a

discharge of my student loans.

9. ln addition, [ would like add the following

t -'Jc’ tt-'tro:ooti`ttt©

 

~W\Ltir \tQM l l\ltul \\it)nhtri tgt>fl. ot,\‘\d:,_\lii\_tit mt t§fi._
T\>ttnttt aid mt 11\\1 ibp 111 totath on t\:ttt education *'".@Uf\t

lO. No one has promised or offered me anything 111 exchange for providing

  

this statement. l give it freely and voluntarily.

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clif\ird~tr' “\O\irl\i bljt)tél§l\#b‘ltl“&ir \‘\Lut,u gregg
\N\tlti’\ low Oi\ci F?J'L'Ui’ tl\tD tur\iwtt§n OUY’ fliilt‘w\'ld\.

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Case 5:18-cV-00388-TES Document 28-3 Filed 11/14/18 Page 4 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated: November l . 2018

 

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Case 5:18-eV-OO388-TES Doeument 28-3 Filed 11/14/18 Page 5 of 37

DECLARA'I`|ON OF

 

 
    

I, , hereby declare and affirm the following
l. l arn over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.
2. l am a current student at 59¢9}4+ ideal in gay i;m/\
cal t tv e_ f
cf H ¢ Q . (School, eity, state)
3. I am enrolled in the j\[t) fifthlléi /~i D N
program

4. Upon graduation, l will receive a AQA/__

 

5. l expect to complete my program in F _ rt. a?O

 

6. To pay for my education, l have utilized I"ederal student aid programs,

including F¢Q_§[-`/l \//q 611 igl!._!.,

7. l hav-irele one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cV-OO388-TES Document 28-3 Filed 11/14/18 Page 6 of 37

8. lt` given the ehoice, I would choose to complete my degree at
' f H' College. as opposed to stopping my education and receiving a
bayhin £9}11£)
discharge of my student |oans.
9. ln addition1 l would like add the following:
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j iL 0. nNo on as promised oroi’t`ered me anythingin exchange forproviding

this statcrnent, ih give it freely and voluntarily

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Case 5:18-cV-OO388-TES Document 28-3 Filed 11/14/18 Page 7 of 37

I declare under penalty of perjury that the foregoing is true and eorreet.

Dated: November f , 20l 8

 

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Case 5:18-cV-OO388-TES Document 28-3 Filed 11/14/18 Page 8 of 37

“. hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. | have personal knowledge of the matters

Yi.(l`|i M`)(': _®mm,

set forth herein.

  

2_. l am a current student at
§ 2 l l l l l .(Sehool, eity, state)
3. lam enrolled in the i_\,i`l_vl_lt:llli(`l

program.

4. Upon graduation l will receive a l::lbcgl gill lli§

throw 11/1 tl11te11n61

5. l expect to complete my program in lillim[%£\

§O}Cf

6. To pay for my education. I have utilized Federal student aid programs
inctuaingt§/F(H Z(HQ§ -€5 mt ll mill l_§§t§l] tx]\|f]l€l`lf§
7_ l have (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cV-00388-TES Document 28-3 Filed 11/14/18 Page 9 of 37

wM given the choice, l would choose to complete my degree at
/\`lj\€ College as opposed to stopping my education and receiving a

discharge ol` my student |oans.

9. ln addition, l would like add the following

 

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adam QDCLL_DUHL_EM 930 null perottQQl il

10. No one has promised or offered me anything m exchange for providing

this statement l give it freely and voluntaril`y. _
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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 10 of 37

l declare under penalty of pte ury that the foregoing is true and correct

Dated; November l . 20l 8

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 11 of 37

DECLARATI()N OF

l, 1 hereby declare and affirm the l`ollowing:

l. l am over twenty-one (2|) years of age and otherwise competent to
testify as to the matters set forth hereinl l have personal knowledge of thc matters

set forth herein.

2. l am a current student at bf'tg‘bigocd in BL_{_H)_D__,
C)i`tt §§ . (School. city, state)

3. 131111=;111-011¢(1111111.: Fie,g`mj;reel Nu.fee.

 

 

program
4. Upon graduation, l will receive an _ 11155@1§¥;`5,
;¢lrzocca;to hurst rid

5. l expect to complete my program in F abl`glof 1:| 30le

 

6. To pay for my cducation, l have utilized l"edera| student aid programs,

including €`:.tdoetdtiled_ m._dnaulos.atu¢t IQQQ;>, ;a§@ts; eehan@,'p§.

7. l have@(€ircle one that applies) received student aid in excess

of tuition and fees to otiset my living expenses, including:

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(HE\E'N I‘lH. l

Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 12 of 37

8. if given the choice, l would choose to complete my degree at

gtthin College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. l n addition, l would like add the t`otlowing:

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gang 351¢1;,1:0’¢ goff Q,A;;\)txs>`\§t_i` .Ig.tgc£ed i;e Cditml.£mqhwl

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m ever met mcre+mn initio retain all demand education »=»

10. No one has promised or offered me anything in exchange I` or providing

this statement, | give it l`ree|y and voluntarily

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and o.\\ow ns to lonnie more cLu€cr Pa.mnt contact wang

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 13 of 37

l declare under penalty of perjury that the foregoing is true and correctl

Dated:hiovember l _,2013

 

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 14 of 37

DECLARATI ON OF

 

l, , hereby declare and affirm the following

 

l. l am over twenty-one (2|) years of age and otherwise competent to
testify as to thc matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at %F\EIHM& in w\!i“’/l\ _ ,
Oi'\'_O _ .(School, city` state)
1 /"r
3. lam enrolled in the ___Ei€(_gi'(`lCI/t i iQCi/\

program.

4. Upon graduation. l will receive a l ¢|EC,|T 1213 l
l
T€Ci" Dt plo main _____ _

:E. ] expect to complete my program in /(imém_€_’f C)_g:

o. To pay f or my education, l have utilized Federal student aid programs,

including

7. l hav-Cit'cle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 15 of 37

8. lt` given the choice, t would choose to complete my degree at
iLi/\/ College, as opposed to stopping my education and receiving a
discharge of my student loans.

ln addition would like add the following:

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10. No one has promised or offered me anything in exchange for providing

 

 

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 16 of 37

I declare under penalty of perjury that the foregoing is true and correct

Datcd: Novembcr _____i __ 2018

 

[NAME]

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 17 of 37

DECLARA'rioN or

1.1. hereby declare and affirm the following:

l. l am over twenty-one (21] years ol` age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth llerein.

2. l am a current student at t`~\_`t'\'\l_"o`1t,t)a@;\ in i}t'_t‘=; *~-_~;._ __ ,

tilt-ti g . (School, city, state)

3. l am enrolled in the *_1_\=_@_(\11()\ 12141_-'1_‘; °\Xi‘(`_"»:_
program.

4. Upon graduation, l will receive a ( t",i_\rth_+i?_,

 

5. l expect to complete my program in 'itmdj_ '.g`_t`§_(__lt_______

 

6. To pay for my education, l have utilized Federa| student aid programs

 

including -'-`11;-_~1; po ul
' _1
7. l havel'havc not ((.`ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

iit_`eon€__‘Qm-__ __

|`l-${n} *JD\?N l

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Case 5:18-cv-00388-TES Document 28-3 Filed 11/14/18 Page 18 of 37

8. lf given the choice, l would choose to complete my degree al
wig;gyp_i¢ Coilcgc, as opposed to Stopping my education and receiving a
discharge of my student loans.

9. In addition, l would like add the l`ollowing:

‘t (Lo=)_ -_";>'_r_i__ _cf' \""` F"'L;\€'- f‘l _ "_r _T -_'.\i';‘l_ iit~:f' -`\_t\

{`ot"r'\t`)‘.a. ' 'n\"it i'-t"`_`""‘fdj"`i "`-"-"_‘- t'-;-"l:_i»;`ri+'_'_-':

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 19 of 37

l declare under penalty ot` perjury that the foregoing is true and correct.

F

Dated: Novembcr """L" _ 2018

'~JJ

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 20 of 37

___I)ECLARATION <)F _
l, 1 hereby declare and affirm the following:

|. l am over twenty-one (21) years of age and otherwise competent to

   

 

testify as to the matters set forth herein. | have personal knowledge of the matters

set forth herein.

 

 

 

2. l arn a current student at _;_-*`,'?;j-_-l'_»v~tci in ”',',o\;_,'¢rr _
"1:' " 'i . (Schoot, city, state]
3. lam enrolled in the ”",r»r,»: wl _)" 'j' f j '§ '.- "-
program
4. Upon graduation_. l will receive a </`:’-[ :-i =-,l,_
5. | expect to complete my program in "

_’,.'r'l
»- .

6. 'l`o pay for my education, l have utilized F ederal student aid programs,

including ____ _ lt _ A-_
7. l have_»'have not (Cit'cle one that applies] received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 21 of 37

8. lf given the choice._ l would choose to complete my degree at
[_g__wl_-_;_-*.;_:__ Col|ege_. as opposed to stopping my education and receiving a
discharge of my student loans

9. ln addition, l would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this slatement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 22 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated:November l .20|8

 

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 23 of 37

DECLARAT!ON OF

l, _, hereby declare and affirm the following:

l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at mm in l§g_%tgrj ,
§}b}`Q . (School, city, state)
3. lam enrolled in the m€d_\,`(g\ §§2&1§19111______

program

4. Upon graduation, l will receive a bg'Q[QQQ

medrer osst~snm¢_

5. l expect to complete my program in Htg§ Q:Q
20\.01

6. To pay for my education, l have utilized Fedcral student aid programs,
including ¢ZF-Q.Qflo 1' d loans _ ________ .
7. l have@(€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, inciuding:

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 24 of 37

8. If given the choice, l would choose to complete my degree at

_C§_[Qh¢._t¢_pg{€ollege, as opposed to stopping my education and receiving a
discharge ofmy student loans.

9. In addition, l would like add the following:

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'T \§`*§E l!§% l;@g§=`j}§[”§ gail f§;)_% if llg,.) Sl'l#tdfr[|:

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 25 of 37

l declare under penalty of perjury that the foregoing is true and correct.

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[NAME]

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 26 of 37

 

 
   
 

, hereby declare and affirm the following:

cr won y-one (21) years of age and otherwise competent to

 

am ov
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at Q;%églj@l£, in tfl_:géd ,

_Qt|l]z_D_. (School_ city, stale]
3. l am enrolled in the "’n/_i€d!`fm,j }4 _S_S‘, _‘5'%(1!} .]l-

program.
4. L|pon gratlualion, l will receive a __B;P_lb[]’}_¢{ 2
m f}q_edaf‘n,l l;‘t$_Sr'ann c_

5. l expect to complete my program in lgg§l Q£

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b. To pay for my education, l have utilized l"ederal student aid programs,

including l\{€ lh€'l'
7. l®!.€ircle one that applics) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 27 of 37

8. lf given the choice, l would choose to complete my degree at
%|lly_/Q,DL College. as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-3 Filed 11/14/18 Page 28 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated: Novemher l ,20|8

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 29 of 37

 

I, hereby declare and affirm the following:

 

I. l am over twenty-one (21] years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth hcrein.

2. l am a current student admin lzg mf)`
__(/d[i__. (School, city, state)

3. l am enrolled in the _N\ pci i_ C(L_i /i§§ '1 §?/(:"f: ’./-

program
4- UpOn graduation, l will receive a ")'_t l'"

l\/l ad l (‘rt_ l )i§§ l §ta/U‘

5. l expect to complete my program ind/ip_@l__#
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6. To pay for my education, l have utilized Federal student aid programs,
including_______l§\€ `\_\\il<_.i________

7. l have@€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including

 

 

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Case 5:18-ev-OO388-TES Doeument 28-3 Filed 11/14/18 Page 30 of 37

8. If given the choice l would choose to complete my degree at
MQ]M College, as opposed to stopping my education and receiving a
discharge of my student loans.
9. ln addition. l would like add the following:
T like tim ll"\ aids one m sit agran
ita avail l"la§<(»§

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statemenl, l give it freely and voluntarily

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Case 5:18-ev-OO388-TES Doeument 28-3 Filed 11/14/18 Page 31 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated:No\/ember i ,2018

 

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Case 5:18-ev-OO388-TES Doeument 28-3 Filed 11/14/18 Page 32 of 37

DECI.ARATION OF

I. ereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at L - l in l ,
C.i’}l f@£

491£`. (School, city, state)
3. lam enrolled in the WCL\QCU »}&§S\\`iU/n`l*

program.

4. Upon graduation, l will receive a l 2||2ii ti fig
" "F- § f /{_

 

 

 

 

 

 

 

 

5. l expect to complete my program in _ L',»_y_] `
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6. To' ay for my education, l have utilized Federal student aid programs,
including Nf i nfi'i'
7. l havef'have not (Cirele one that applies) received student aid itt excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-ev-OO388-TES Doeument 28-3 Filed 11/14/18 Page 33 of 37

8. lf given the choice, l would choose to complete my degree at

.oclpeLe, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition | would like add the following

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lO. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-ev-OO388-TES Doeument 28-3 Filed 11/14/18 Page 34 of 37

I declare under penalty of perjury that thel foregoing is true and eorrect.

Dated: Novcmber i __, 2018

 

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 35 of 37

I, _, hereby declare and affirm the following:

l. I am over twenty-one (21] years of age and otherwise competent to

 

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.
n/
C-l\#“_i
2. l am a current student at __'_B_,_r)_l;tl_w».»i __ in EL pf$ v ,
j[_¢___;_.»__a__§ _ . tschool, city, grant

3. lam enrolled in the l\la t tear l;_t_a,\ Aeimto»si»‘i~`~ referee 'i~`l\` §y Jk”'

 

program
4. Upon graduation, l Will receive a
5. l expect to complete my program in ____ _______ __

A_,~…` l gaf 20 tit
6. To pay for my education, l have utilized Federal student aid programs,
including F\LA;_@;+-_z§s_,_€? mill \ ala » 991 l__@ ref
7. I have@€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 36 of 37

8. If given the ehoice, I would choose to complete my degree at
rig 1631 L°i College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, l would like add the following:
/tsa 'B~sl\tw=ri C- \_'_f-_;r___hc is ill Q""° l'/l,_*>“~‘ ""'
itu/esa me ay¢_¢_i ‘-l:_-"_'v_»_r_\_»\__ _:i\.e i)r`c#-"tdl@"i'_ o__r\___ __o_i__ot»\_»_n_ nmi Soilié
Wa__r_\___i_ __Yac_i_ ‘i’o §_I»\Ce_zzJ i/\ your toi»b\ca`i “i`_‘“""~(|“' )@Al¢_ F\M__§'i
iowa /n,l s1 tight joints _M_ now toldl

t"€’¢tii\; Evv»»t_¢ab:'iiJl ML“S<iztaiJ-/vt’i~_e_ ___if_\_-_€i_r:~_~cx :i: i_¢,\,~a "i’i\¢§
SCi¢tuu]i igr"ir:)i'\i"yvooilco iie_._¢_')¢»)
lO. No one has promised or offered me anything in exchange for providing

 

 

 

 

 

 

this statement, I give it freely and voluntarily.

[Reminder of page intentionally left blank]

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Case 5:18-cv-OO388-TES Document 28-3 Filed 11/14/18 Page 37 of 37

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November / 2018

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